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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA,                    :

       Plaintiff,                            :

v.                                           :        Civil Action No. GLR-16-810

J.A. SUBWAY, INC., et al.,                   :

       Defendants.                           :

                                         ORDER

       Today, the Court held a show cause hearing regarding Defendant Jamiu Lawal’s

failure to comply with the Court’s September 23, 2016 Default Judgment and Order for

Permanent Injunction (ECF No. 15) and Defendants J.A. Subway, Inc. and Lawal’s

Notice of Filing of Bankruptcy (ECF No. 34). For the reasons stated on the record in

open court, it is this 20th day of August, 2018, by the United States District Court for the

District of Maryland, hereby:

       ORDERED that today’s show cause hearing is CONTINUED until Thursday,

September 27th, 2018 at 11:30 a.m.;

       IT IS FURTHER ORDERED that Lawal appear before the Honorable George L.

Russell, III at the United States Courthouse, 101 West Lombard Street, Courtroom 7A,

Baltimore, Maryland, 21201 on September 27th at 11:30 a.m. to show cause why he

should not be held in contempt for failing to comply with the Court’s September 23, 2016

Order (ECF No. 15); and

       IT IS FURTHER ORDERED that the Clerk MAIL a copy of this Order to J.A.
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Subway, Inc. and Lawal at 632 South Broadway, Baltimore, Maryland 21231 and Lawal

at 8604 Polly Hill Court, Windsor Mill, Maryland 21244.


                                              /s/
                                       ____________________________
                                       George L. Russell, III
                                       United States District Judge




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